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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

The Trustees of Purdue University
                                           Plaintiff,
v.                                                           Case No.: 1:20−cv−05443
                                                             Honorable Elaine E. Bucklo
Omron Corporation, et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 17, 2020:


        MINUTE entry before the Honorable Elaine E. Bucklo: The parties' joint motion
for clarification is granted. The final date for plaintiff to join parties without leave of court
is April 28, 2021. Joint motion for entry of protective order [103] is granted. Enter
Protective Order. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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